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                                        CRIMINAL COMPLAINT
                                                                           DISTRICT of ARIZONA
                  United States District Court
                           United States of America                        DOCKET NO.
                                      v.
                       Nestor HERNANDEZ-MORALES
                     DOB: XX/XX/1997; United States Citizen
                                                                           MAGISTRATE'S CASE NO.

                                                                              23-00105MJ
                            Complaint for violation of: Title 18, U.S.C. §§ 922(g)(1) and 924(a)(2).

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about February 1, 2023, at or near Casa Grande, in the District of Arizona, Nestor HERNANDEZ MORALES
knowingly possessed firearms; as defined in Title 18 U.S.C. § 921(a)(3) , having been previously convicted of a felony,
in violation of Title 18, U.S.C. §§ 922(g)(1) and 924(a)(2).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On May 18, 2018, Nestor HERNANDEZ-MORALES was convicted in Pima County Superior Court, Case Number
CR20180610-002, of Transportation of a Narcotic Drug for Sale, a crime punishable by imprisonment for a term
exceeding one year.

In December of 2022, HERNANDEZ-MORALES met with an AZ DPS UC and planned to purchase fifteen
AK47s, a semi-automatic belt fed in the .556 caliber and a .50 caliber weapon system. Ongoing communications
between the AZ DPS UC and HERNANDEZ-MORALES led to an arrangement scheduled to transpire on February
1, 2023, for the sale of one Barrett .50 caliber rifle and one FN M249, .556 caliber, belt fed rifle.

On February 1, 2023, HERNANDEZ-MORALES met an AZ DPS UC in Casa Grande, Arizona to purchase
firearms. HERNANDEZ-MORALES took custody of one (1) Barrett .50 caliber rifle and one (1) FN M249, .556
caliber, belt fed rifle, in exchange for $26,000 US currency. HERNANDEZ-MORALES was soon thereafter
arrested and found to be in possession of a Beretta, Model 92FS, 9mm handgun, bearing serial number L55925Z.

An ATF Interstate Nexus Expert examined all three firearms and determined they were not produced in Arizona and
subsequently affected interstate commerce.




MATERIAL WITNESSES IN RELATION TO THE CHARGE:

WARRANT AND DETENTION REQUESTED                                            SIGNATURE OF COMPLAINANT
     Being duly sworn, I declare that the foregoing is                     (official title)
    true and correct to the best of my knowledge.
AUSA                                                                       OFFICIAL TITLE
David Petermann                                                            HSI Agent Joseph Millik
  Sworn to before me and subscribed in my presence.
SIGNATURE OF MAGISTRATE JUDGE                                              DATE
                                                                           02/02/2023
